Case 1:16-cv-00013-JMC-RMM Document 98-2 Filed 04/20/18 Page 1 of 3




             Appendix A
     Case 1:16-cv-00013-JMC-RMM Document 98-2 Filed 04/20/18 Page 2 of 3




Exhibit Date                Description
1         Jun. 15, 2015     E-mail from P. Charley to J. Young
2         Dec. 4, 2015      E-mail from C. Swisher to M. Souag
3         Dec. 12, 2015     E-mail from J. Young to P. Charley, K. Hirten, and D.
                            Davies
4         Nov. 2, 2015      E-mail from P. Rees to C. Swisher
5         Jan. 27, 2015     E-mail from J. Young to D. Ulman
6                           Liam Collins Dossier
7         June 3, 2015      E-mail from P. Charley to P. Rees
8         Aug. 28, 2015     E-mail from P. Charley to J. Young, K. Hirten, and C.
                            Pennington
9         Sept. 7, 2015     E-mail from P. Charley to J. Young
10        Aug. 28, 2015     E-mail from J. Young to K. Hirten
11        Sept. 21, 2015    E-mail from P. Rees to D. Davies, J. Young, and K. Hirten
12                          Collins Interview Notes
13        Dec. 2, 2015      E-mail from C. Sly to B. Rucker
14        Oct. 28, 2015     Recording of Unpublished Undercover Conversation
                            Between C. Sly and L. Collins at AJ-HZ_VIDEO-
                            AUDIO0000087
15        Oct. 31, 2015     Recording of Unpublished Interview with L. Collins at
                            AJ-HZ_VIDEO-AUDIO0000179
16        Oct. 30, 2015     Recording of Unpublished Undercover Conversation
                            Between C. Sly and L. Collins at AJ-HZ_VIDEO-
                            AUDIO0000141
17        Jan. 3, 2016      E-mail from J. Young to A. Elrashidi and K. Kiang
18        Nov. 8, 2015      E-mail from J. Young to D. Davies, K. Hirten, and C.
                            Pennington
19        Nov. 6, 2015      E-mail from J. Young to D. Davies
20        Nov. 11, 2015     E-mail from J. Young to D. Davies, N. Dove, K. Hirten,
                            and C. Pennington
21        Jan. 4, 2016      E-mail from K. Hirten to J. Stallman, K. Belson, and M.
                            Powell
22        Oct. 30, 2015     E-mail from E-mail from D. Davis to M. Thevis
23                          Unpublished Audio Recording of Conversation Between C.
                            Sly and L. Collins at AJ-HZ_VIDEO-AUDIO0003042
24        Nov. 3, 2015      Excerpt of Tr. of Audio Recording of Conversation
                            Between C. Sly and L. Collins

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     Case 1:16-cv-00013-JMC-RMM Document 98-2 Filed 04/20/18 Page 3 of 3




Exhibit Date                Description
25        Dec. 26, 2015     E-mail from C. Sly to D. Davies and R. Corn-Revere
26        Feb. 29, 2016     E-mail from J. Young to C. Swisher
27        Dec. 24, 2016     E-mail from C. Sly to D. Davies and R. Corn-Revere
28        Dec. 24, 2015     E-mail from C. Sly to R. Corn-Revere and D. Davies
29                          Al Jazeera Notes
30        Dec. 30, 2015     E-mail from J. Austin to C. Swisher
31        Dec. 29, 2015     E-mail from C. Swisher to various Al Jazeera employees
32        Dec. 28, 2015     E-mail from B. Vota to Al Jazeera
33        Dec. 27, 2015     E-mail from M. Reeves to R. Corn-Revere and C.
                            Pendleton
34        Dec. 28, 2015     E-mail from M. Kennedy to J. Austin
35        Jan. 2, 2016      E-mail from J. Young to K. Hirten
36        Jan. 20, 2016     E-mail from J. Young to J. Young
37        Jan. 30, 2016     E-mail from J. Young to P. Rees
38        Dec. 30, 2015     E-mail from K. Hirten to P. Charley
39        Jan. 11, 2016     E-mail from K. Hirten to A. Tompkins
40        Mar. 19, 2018     Excerpt from Al Jazeera’s Supplemental Responses and
                            Objections to Plaintiffs’ Interrogatories
41        Jan. 21, 2016     E-mail from L. Collins to P. Charley and J. Young
42        Feb. 26, 2016     E-mail from J. Young to P. Charley and K. Hirten
43        Feb. 24, 2016     E-mail from J. Young to R. Sanders
44        Feb. 18, 2016     L. Collins to P. Charley
45        Dec. 24, 2015     E-mail from K. Hirten to P. Charley
46        Sept. 14, 2015    E-mail from J. Young to L. Collins
47        Nov. 14, 2017     Excerpt of Al Jazeera’s Responses and Objections to
                            Plaintiffs’ First Set of Requests for Admissions
48        Feb. 16, 2018     Ltr. from R. Stevens to Plaintiffs
49        Mar. 8, 2018      Ltr. from T. Toweill to Plaintiffs




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